  Case: 1:13-cv-07271 Document #: 108 Filed: 11/26/14 Page 1 of 35 PageID #:1027



                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

PNC Bank, National Association, successor in               )
interest by merger to National City Bank, successor        )
in interest by merger to MidAmerica Bank, FSB              )
                                                           ) No 13 cv 07271
                                     Plaintiff.            )
                                                           ) Property Address:
                      vs.                                  ) 124-136 S. Randall Road
                                                           ) Algonquin, Illinois 60102
Randall Road Joint Venture, an Illinois general            )
Partnership; Chicago Title Land Trust Company,             ) Assigned Judge: Robert M. Dow, Jr.
successor trustee to Amcore Investment Group as            ) Magistrate Judge: Mary M. Rowland
Trustee Under Trust Agreement Dated December 15,           )
1993 and Known as Trust Number 3504; Jeffrey R.            )
Dunham; Robert R. Dunham; Power Pizza Company              )
d/b/a Jake’s Pizza, an Illinois domestic corporation;      )
Phoenix Leasing Incorporated, a foreign corporation;       )
                                                           )
                                                           )
                                     Defendants.            )


                            FINAL REPORT OF THE RECEIVER

The Receiver, Joshua E. Joseph, herewith submits a Final Report of Receiver summarizing the
activities performed by the Receiver from October 1, 2014 - November 26, 2014. Pursuant to
the Court Order dated December 5, 2013, Joshua E. Joseph was appointed Receiver for the
mortgaged real estate in the above case commonly known as 124-136 S. Randall Road,
Algonquin, Illinois 60102; herein referred to as the “Property.”


                            DESCRIPTION OF THE PROPERTY

Location:                    124-136 S. Randall Road, Algonquin, McHenry County, Illinois
Property Type:               Retail Strip Center
Gross Building Area:         13,850 square feet
Number of Buildings:         1
Number of Units:             7
Year Built:                  1995
Construction:                Brick and block
Land Area:                   1.38 acres
Parking:                     Approx. 55 asphalt-paved spaces
Condition:                   Average to good

Photographs of the Property are included as Exhibit “A”.

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                      GENERAL STATUS & RECEIVER ACTIVITY

The Receiver has continued to perform routine inspections of the Property to ensure there are no
life safety issues or deferred maintenance requiring immediate action. Property services
including utilities and landscaping have been maintained. Snow removal services commenced for
the 2014-15 winter season. The Receiver is collecting rents and paying operating expenses. The
Receiver has also maintained communication with the tenants at the Property and the parties to
this case.

                                    RECEIVER’S BOND

The Order Appointing Receiver required the posting of a $75,000 bond. The Receiver posted the
bond on December 10, 2013.

                                        INSURANCE

The Receiver has verified that the Plaintiff has placed adequate property insurance coverage on
the Property. A copy of the insurance certificate covering the term of 3/15/14 – 3/15/15 is
attached as Exhibit “B”.

                                    PROPERTY TAXES

The Property is located in McHenry County. There is one (1) PIN associated with the Property:
19-30-400-008. The first installment of 2013 taxes (payable 2014) totaled $40,726.66 and was
paid by the Receiver on June 2, 2014. The second installment of 2013 taxes (payable 2014)
totaled $40,726.66 and was paid on July 30, 2014.

A copy of the most recent tax bill from the McHenry County Treasurer website is attached as
Exhibit “C”.

                         BANKING AND FINANCIAL ACTIVITY

The Receiver has established a bank account to deposit rental income and pay operating
expenses for the term of the receivership. From October 1 through November 26, 2014, total
receipts were $23,652.20 and total expenses were $14,488.26. The net operating income for the
period was $9,163.94. The reconciled cash balance on hand as of 10/31/14 was $45,594.48. A
bank statement for November 2014 will become available the first week of December. The
Receiver anticipates that he will receive final invoices for utilities and snow removal services
after the date of this report, and funds will be required to make final payments.

Financial statements including a current rent roll, income and expense statement, bank
reconciliations, receipt register, check register, and aged delinquency report, are included as
Exhibit “D”.


                                        LITIGATION

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The Receiver is not aware of any litigation involving the Property other than the subject
foreclosure case.

                                     RECEIVER’S FEES

A detailed billing statement for the Receiver’s fees is attached as Exhibit “E”. The Receiver
requests the approval of his monthly flat fees set forth in the Order Appointing Receiver in
addition to a $500.00 termination fee for reasonably anticipated time that will be spent
closing out the receivership, turning over funds and information, payment of final invoices,
and other work that may be required of the Receiver after the term of this final report.

                                        LEGAL FEES

A detailed billing statement from the Receiver’s counsel for legal work performed in relation to
this matter is attached as Exhibit “F”. The Receiver requests approval to pay this invoice along
with any legal fees incurred since the date of said invoice.

                                       DRAFT ORDER

A draft order approving the Final Report of the Receiver, discharging the Receiver, releasing the
Receiver’s bond, and approving all Receiver’s fees and legal fees is attached as Exhibit “G”.

                                   TABLE OF EXHIBITS

EXHIBIT A – PHOTOGRAPHS
EXHIBIT B – INSURANCE
EXHIBIT C – REAL ESTATE TAXES
EXHIBIT D – FINANCIAL ACTIVITY & RENT ROLL
EXHIBIT E – RECEIVER’S FEES
EXHIBIT F – LEGAL FEES
EXHIBIT G – DRAFT ORDER

                            Contact Information for the Receiver
                                      Joshua E. Joseph
                              707 Skokie Boulevard, Suite 580
                                    Northbrook, IL 60062
                                   (847) 770-6262 Phone
                              jjoseph@frontlinerepartners.com

Respectfully submitted,


___________________________________

Joshua E. Joseph, as Receiver


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                EXHIBIT A
Case: 1:13-cv-07271 Document #: 108 Filed: 11/26/14 Page 5 of 35 PageID #:1031
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                 EXHIBIT B
                    Case: 1:13-cv-07271 Document #: 108 Filed: 11/26/14 Page 7 of 35 PageID #:1033
                                                                                         RANDA-2                                                                          OP ID: EZ
                                                                                                                                                                  DATE (MM/DD/YYYY)
                                             CERTIFICATE OF LIABILITY INSURANCE                                                                                      04/04/2014
    THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
    CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
    BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
    REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
    IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must be endorsed. If SUBROGATION IS WAIVED, subject to
    the terms and conditions of the policy, certain policies may require an endorsement. A statement on this certificate does not confer rights to the
    certificate holder in lieu of such endorsement(s).
                                                                                            CONTACT
PRODUCER
                                                                                            NAME:       GEORGE PRATIKAKIS
Crandall, Dubow & Harner, Inc.                                                              PHONE                                                   FAX
3175 Commercial Ave., Ste 200                                                               (A/C, No, Ext):                                         (A/C, No):
Northbrook, IL 60062                                                                        E-MAIL
                                                                                            ADDRESS: GEORGEP@TOTINS.COM
Mike Dubow
                                                                                                               INSURER(S) AFFORDING COVERAGE                                NAIC #
                                                                                            INSURER A : Society    Insurance                                           15261
INSURED        Randall Road Joint Venture LLC                                               INSURER B :
               Frontline Real Estate Partners                                               INSURER C :
               707 Skokie Blvd Suite 580
               Northbrook, IL 60062                                                         INSURER D :

                                                                                            INSURER E :
                                                                                            INSURER F :

COVERAGES                                   CERTIFICATE NUMBER:                                                                  REVISION NUMBER:
    THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
    INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
    CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
    EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
INSR                                              ADDL SUBR                                          POLICY EFF   POLICY EXP
 LTR             TYPE OF INSURANCE                INSD WVD              POLICY NUMBER               (MM/DD/YYYY) (MM/DD/YYYY)                            LIMITS
A      X   COMMERCIAL GENERAL LIABILITY                                                                                           EACH OCCURRENCE                $          1,000,000
                                                                                                                                  DAMAGE TO RENTED
               CLAIMS-MADE     X   OCCUR           X          11428323                              03/15/2014 03/15/2015         PREMISES (Ea occurrence)       $            300,000
                                                                                                                                  MED EXP (Any one person)       $              5,000
                                                                                                                                  PERSONAL & ADV INJURY          $          1,000,000
       GEN'L AGGREGATE LIMIT APPLIES PER:                                                                                         GENERAL AGGREGATE              $          2,000,000
                      PRO-
           POLICY     JECT          LOC                                                                                           PRODUCTS - COMP/OP AGG         $          2,000,000
           OTHER:                                                                                                                                                $
       AUTOMOBILE LIABILITY                                                                                                       COMBINED SINGLE LIMIT          $
                                                                                                                                  (Ea accident)
           ANY AUTO                                                                                                               BODILY INJURY (Per person)     $
           ALL OWNED            SCHEDULED                                                                                         BODILY INJURY (Per accident) $
           AUTOS                AUTOS
                                NON-OWNED                                                                                         PROPERTY DAMAGE                $
           HIRED AUTOS          AUTOS                                                                                             (Per accident)
                                                                                                                                                                 $
           UMBRELLA LIAB           OCCUR                                                                                          EACH OCCURRENCE                $
           EXCESS LIAB             CLAIMS-MADE                                                                                    AGGREGATE                      $

              DED          RETENTION $                                                                                                                           $
       WORKERS COMPENSATION                                                                                                            PER             OTH-
       AND EMPLOYERS' LIABILITY                                                                                                        STATUTE         ER
                                            Y/N
       ANY PROPRIETOR/PARTNER/EXECUTIVE                                                                                           E.L. EACH ACCIDENT             $
       OFFICER/MEMBER EXCLUDED?                   N/A
       (Mandatory in NH)                                                                                                          E.L. DISEASE - EA EMPLOYEE $
       If yes, describe under
       DESCRIPTION OF OPERATIONS below                                                                                            E.L. DISEASE - POLICY LIMIT    $
A PROPERTY                                                    11428323                              03/15/2014 03/15/2015 BUILDING                                          1,700,000
                                                                                                                          DED                                                   2,500

DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)
THE FOLLOWING ARE ADDITIONAL INSURED WITH RESPECT TO GENERAL LIABILITY, WHEN
REQUIRED BY WRITTEN CONTRACT:
- PNC BANK
- JOSHUA JOSEPH AS RECEIVER
- FRONTLINE REAL ESTATE PARTNERS.



CERTIFICATE HOLDER                                                                          CANCELLATION

                                                                                              SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                              THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
               FRONTLINE REAL ESTATE PARTNERS                                                 ACCORDANCE WITH THE POLICY PROVISIONS.
               707 SKOKIE BLVD., SUITE 580
               NORTHBROOK, IL 60062                                                         AUTHORIZED REPRESENTATIVE




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ACORD 25 (2014/01)                                   The ACORD name and logo are registered marks of ACORD
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                EXHIBIT C
               FROM THE OFFICE OF:           REAL ESTATE TAX BILL                                                          ASSESSED TO: AMCORE TR CO TR 3504
               WILLIAM W. Le1:13-cv-07271
                     Case:   FEW        1STDocument   #:COUPON
                                            INSTALLMENT  108 Filed: 11/26/14
                                                               PAYMENT                                              Page 9 of 35 PageID
                                                                                                                                      PIN:#:1035
                                                                                                                                            19-30-400-008
               McHENRY COUNTY TREASURER


               MAKE CHECKS PAYABLE TO: McHENRY COUNTY COLLECTOR                                         *$RE19304000081$*
                                                                                                             1ST INSTALLMENT FOR 2013
                                                                                                                   DUE BY 06/04/2014                                 $40,726.66
                                            **DUPLICATE**
                                                                                                                                       INTEREST

               CENTERVILLE PROP
               2380 ESPLANADE DR
                                                                                              1-2013                                     COSTS
                                                                                                                                    TOTAL PAID
                                                                                                                                                          Paid on
                                                                                                                                                          06/02/2014
               STE 300
               ALGONQUIN IL 60102-5451


     PAID BY: CHECK ____ CASH ____ MAIL ____ CREDIT CARD ____                                                            1930400008000407266617



               FROM THE OFFICE OF:        REAL ESTATE TAX BILL                                                             ASSESSED TO: AMCORE TR CO TR 3504
               WILLIAM W. Le FEW     2ND INSTALLMENT COUPON PAYMENT                                                                                       PIN:   19-30-400-008
               McHENRY COUNTY TREASURER

               MAKE CHECKS PAYABLE TO: McHENRY COUNTY COLLECTOR                                         *$RE19304000082$*
                                                                                                             2ND INSTALLMENT FOR 2013
                                                                                                                   DUE BY 09/04/2014                                 $40,726.66
                                            **DUPLICATE**
                                                                                                                                       INTEREST
               CENTERVILLE PROP
               2380 ESPLANADE DR
               STE 300
                                                                                                 2-2013                                  COSTS
                                                                                                                                    TOTAL PAID
                                                                                                                                                          Paid on
                                                                                                                                                          07/30/2014
               ALGONQUIN IL 60102-5451


                                                                                                                         1930400008000407266629
     PAID BY: CHECK ____ CASH ____ MAIL ____ CREDIT CARD ____

             Taxing Body                  Rate Percent Tax This Year Tax Last Year                                                                          Fair Cash Value
                                                                                                                                                                      2,283,610
MCHENRY COUNTY                       0.945481      8.83     $7,196.32     $7,322.15
                                                                                                                                                            S/A Value
MCHENRY COUNTY               PENSION 0.150564      1.41     $1,145.99       $953.67 MCHENRY COUNTY 2013 REAL ESTATE TAX BILL                                            811,350
                                                                                    LEGAL DESCRIPTION:
MCHENRY CO CONSV                     0.274794      2.57     $2,091.53     $2,061.73                                                                         S/A Multiplier                X
                                                                                    DOC 93R0081755
COLLEGE DISTRICT 509 ELGIN           0.503395      4.70     $3,831.48     $4,367.14 LT 2                                                                                 .9381
COLLEGE DISTRICT 509 ELGIN   PENSION 0.006692      0.06        $50.93        $61.72 KAPERS WEST SUB                                                         S/A Equalized Value           =
SCHOOL DIST 300                      6.135676     57.33    $46,700.28    $45,241.54                                                                                     761,127
SCHOOL DIST 300              PENSION 0.216237      2.02     $1,645.84     $1,341.31   ASSESSED TO:                                                          Brd. of Review Value
ALG LITH FIRE DIST                   0.830296      7.76     $6,319.61     $6,134.20   AMCORE TR CO TR 3504                                                              761,127
                                                                                                                                                            Brd. of Review Mulitplier     X
ALG LITH FIRE DIST           PENSION 0.106103      0.99      $807.58        $736.49   SITE ADDRESS:                                                                     1.0000
ALGONQUIN LIBRARY                    0.547744      5.12     $4,169.02     $3,958.07                                                                         Brd. of Review EQ Value       =
                                                                                      124 S RANDALL RD
ALGONQUIN LIBRARY            PENSION 0.039053      0.36      $297.25        $399.11   ALGONQUIN, IL 60102                                                               761,127
ALGONQUIN TOWNSHIP                   0.082064      0.77      $624.61        $616.29                                                                         Home Improv./Vet Exemptions -
ALGONQN TWP RD & BR                  0.173779      1.62     $1,322.68     $1,285.78                                                                                            0
ALGONQN TWP RD & BR          PENSION 0.008933      0.08        $67.99        $66.10 If paid after due date, pay amount below which includes 1.5% per        State Multiplier              X
ALGONQUIN VILLAGE                    0.403969      3.77     $3,074.72     $3,193.31 month penalty: FIRST INSTALLMENT SECOND INSTALLMENT
                                                                                                                                                                        1.0000
                                                                                                                                                            State Equalized Value         =
ALGONQUIN VILLAGE            PENSION 0.276891      2.59     $2,107.49     $1,940.91 06/05 - 07/04             41,337.56
                                                                                                                                                                        761,127
                                                                                     07/05 - 08/04            41,948.46
                                                                                     08/05 - 09/04            42,559.36                                     Farmland and Bldgs. Value     +
                                                                                     09/05 - 10/04            43,170.26           41,337.56
                                                                                                                                                                               0
                                                                                     10/05 - 10/24            43,781.16           41,958.46                 Total Amt. Prior to Exemptions =
                                                                                                                                                                        761,127
                                                                                                                                                            Annual Homestead Exemptions-
                                                                                      PIN                                                                                      0
                                                                                                                  19-30-400-008                             Sr. Freeze Abated Amount      -
                                                                                                 Township            Tax Code            Property Class                        0
                                                                                                 AQ                    19005                  0060          Elderly Homestead Exemption -
                                                                                              Sub Lot             Acres                                                        0
                                                                                                                  1.38                                      Disabled Vet Homestead Ex     -
                                                                                                                                                                               0
                                                                                      1st Install                        2nd Install
                                                                                                                                                            Disabled Person Exemption     -
                                                                                                            $40,726.66                       $40,726.66                        0
                                                                                      Interest                           Interest
                                                                                                                                                            Returning Veteran Exemption -
                                                                                                                                                                               0
                                                                                      Costs                              Costs                              Net Taxable Amount            =
                                                                                                                                                                        761,127
                                                                                      Total Paid                         Total Paid                         Local Tax Rate                X
                                                                                                                                                                     10.701671
                                                                                                                                                            Total Current Year Tax Due    =
                                                                                      Paid on                            Paid on
                             Totals   10.701671            $81,453.32    $79,679.52   06/02/2014                         07/30/2014                                $81,453.32
HOW AND WHERE CAN I PAY MY REAL ESTATE          BY COMPUTER
          Case: 1:13-cv-07271
             TAX BILLS?       Document #: 108 Filed: 11/26/14 Page 10 of 35 PageID #:1036
                                                - Log on to http://www.mchenrytreasurer.org, click on
 CHECK AND CASH                                         the Property Tax Icon. Choose method of payment from
 - By mail, in the envelopes provided                   options on the screen. Credit Card or Check/Debit and
                                                        follow the instructions. (A convenience fee of 2.5% will
 - At most banks in McHenry County - Call your bank     be assessed on credit card payments.)
   There is a $50.00 fee for returned checks.
                                                        Note: McHenry County does not receive any portion of
 - In person at the McHenry County Treasurer's Office   this fee. Credit card and check/debit payments are also
                       2100 N Seminary Ave              accepted by calling 1-877-309-9309 from your home
                       Woodstock, IL 60098      OR      or business. Credit cards are now accepted at the
                                                        government center site with the same convenience fee
 24 Hour Drop Box at Treasurer's Office Location
                                                        assessed by the internet payment center. Credit card
 NOTE: WE ARE NOT ALLOWED TO ACCEPT                     payments are not accepted at banks.
        PARTIAL PAYMENTS ON TAXES
        There is a $50.00 fee for returned checks.
HOW AND WHERE CAN I PAY MY REAL ESTATE                  BY COMPUTER
             TAX BILLS?                                 - Log on to http://www.mchenrytreasurer.org, click on
 CHECK AND CASH                                         the Property Tax Icon. Choose method of payment from
 - By mail, in the envelopes provided                   options on the screen. Credit Card or Check/Debit and
                                                        follow the instructions. (A convenience fee of 2.5% will
 - At most banks in McHenry County - Call your bank     be assessed on credit card payments.)
   for tax service information
                                                        Note: McHenry County does not receive any portion of
 - In person at the McHenry County Treasurer's Office   this fee. Credit card and check/debit payments are also
                        2100 N Seminary Ave             accepted by calling 1-877-309-9309 from your home
                        Woodstock, IL 60098     OR      or business. Credit cards are now accepted at the
                                                        government center site with the same convenience fee
 24 Hour Drop Box at Treasurer's Office Location
                                                        assessed by the internet payment center. Credit card
 NOTE: WE ARE NOT ALLOWED TO ACCEPT                     payments are not accepted at banks.
        PARTIAL PAYMENTS ON TAXES
        There is a $50.00 fee for returned checks.
                              KEEP THIS PORTION FOR YOUR RECORDS

         FIRST PAYMENT RECEIVED                                    LATE PAYMENT INFORMATION
                                                        Due to a change in Illinois law, all taxes not received on
                                                        or before the due date will immediately be assessed an
                                                        interest penalty at the rate of 1-1/2% the day after the
                                                        due date. An additional 1-1/2% is added each 30 days



                     1                                  after the due date.


                                                        The COUNTY TREASURER, 815-334-4260, has
                                                        information pertaining to the actual tax bill, amount and
                                                        tax payment procedures.
       SECOND PAYMENT RECEIVED                          The COUNTY CLERKS TAX EXTENSION OFFICE,
                                                        815-334-4242, can answer inquiries about the various
                                                        tax rates.

                                                        Your INDIVIDUAL TOWNSHIP ASSESSOR, can explain



                     2
                                                        how your assessment was determined.

                                                        Your SUPERVISOR OF ASSESSMENTS OFFICE,
                                                        815-334-4290, can offer assistance relating to
                                                        assessment complaints and exemptions.
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                 EXHIBIT D
              Case: 1:13-cv-07271 Document #: 108 Filed: 11/26/14 Page 12 of 35 PageID #:1038
124-136 S Randall Rd, Algonquin (124-136r)                                                                Page 1

Income Statement
Period = Oct 2014-Nov 2014
Book = Cash ; Tree = ysi_is
                                             Period to Date        %         Year to Date                      %

OPERATING INCOME

RENTAL REVENUE
 Rent                                            20,122.00      85.07         106,972.00                    70.09
 Prepaid Rent                                        -0.80       0.00               0.00                     0.00
TOTAL RENTAL REVENUE                             20,121.20      85.07         106,972.00                    70.09

RECOVERABLE INCOME
 Estimated CAM                                    1,086.00       4.59          14,263.19                     9.35
 Estimated Real Estate Taxes                      2,445.00      10.34          31,310.00                    20.52
TOTAL RECOVERABLE INCOME                          3,531.00      14.93          45,573.19                    29.86

OTHER INCOME
 Misc Income                                          0.00       0.00              68.49                     0.04
TOTAL OTHER INCOME                                    0.00       0.00              68.49                     0.04

TOTAL INCOME                                     23,652.20     100.00         152,613.68                  100.00




OPERATING EXPENSES

NON RECOVERABLE OPERATING EXPENSES
 Locks & Keys R&M                                     0.00       0.00             442.86                     0.29
 Tenant Space R&M                                     0.00       0.00             281.46                     0.18
TOTAL NON-RECOVERABLE R&M                             0.00       0.00             724.32                     0.47

NON-RECOVERABLE UTILITIES
 Gas                                                113.86       0.48           2,100.69                     1.38
 Electricity                                        676.82       2.86           1,618.44                     1.06
TOTAL NON-RECOVERABLE UTILITIES                     790.68       3.34           3,719.13                     2.44

NON-RECOVERABLE G&A
 Legal Fees                                       9,546.00      40.36          16,435.95                    10.77
 Other Professional Fees                              0.00       0.00          16,994.35                    11.14
 General & Admin Expense                              0.00       0.00             174.16                     0.11
 Permit & License                                     0.00       0.00              40.00                     0.03
 Bank Fees                                           45.87       0.19             390.00                     0.26
 Travel & Parking                                     0.00       0.00              22.00                     0.01
TOTAL NON-RECOVERABLE G&A                         9,591.87      40.55          34,056.46                    22.32

TOTAL NON RECOVERABLE EXPENSES                   10,382.55      43.90          38,499.91                    25.23

RECOVERABLE EXPENSES

REPAIRS & MAINTENANCE
 Cleaning/Sweeping                                  168.00       0.71             546.00                     0.36
 Landscaping                                        795.75       3.36           2,122.00                     1.39
 Snow Removal                                         0.00       0.00           5,528.75                     3.62
 Trash Removal                                    1,064.33       4.50           5,599.57                     3.67
 Fire Alarm R&M                                     279.80       1.18             279.80                     0.18
 Fire Alarm Monitoring                                0.00       0.00             119.00                     0.08
 Plumbing R&M                                         0.00       0.00             684.60                     0.45
 Electrical R&M                                       0.00       0.00             498.94                     0.33
 Miscellaneous R&M                                    0.00       0.00             218.62                     0.14
TOTAL REPAIRS & MAINTENANCE                       2,307.88       9.76          15,597.28                    10.22

UTILITIES
 Electricity                                          0.00       0.00           1,016.48                     0.67
 Water/Sewer                                        945.01       4.00           4,686.00                     3.07
TOTAL UTILITIES                                     945.01       4.00           5,702.48                     3.74

PROPERTY TAXES
 Real Estate Taxes                                    0.00       0.00          40,726.66                    26.69
 Convenience Fees                                     0.00       0.00               3.00                     0.00

                                                                                       Tuesday, November 25, 2014
                                                                                                        05:45 PM
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124-136 S Randall Rd, Algonquin (124-136r)                                                                Page 2

Income Statement
Period = Oct 2014-Nov 2014
Book = Cash ; Tree = ysi_is
                                             Period to Date        %         Year to Date                      %
TOTAL PROPERTY TAXES                                   0.00      0.00          40,729.66                    26.69

INSURANCE
 Insurance                                          703.30       2.97           3,486.67                     2.28
 Insurance - Other                                    0.00       0.00             750.00                     0.49
TOTAL INSURANCE                                     703.30       2.97           4,236.67                     2.78

G&A RECOVERABLE EXPENSES
 Office Supplies                                     26.37       0.11              26.37                     0.02
 Messenger/Delivery                                  63.15       0.27              83.57                     0.05
 Postage                                             60.00       0.25             163.84                     0.11
TOTAL G&A RECOVERABLE EXPENSES                      149.52       0.63             273.78                     0.18

TOTAL RECOVERABLE EXPENSES                        4,105.71      17.36          66,539.87                    43.60

TOTAL OPERATING EXPENSES                         14,488.26      61.26         105,039.78                    68.83

NET OPERATING INCOME                              9,163.94      38.74          47,573.90                    31.17

NET INCOME (LOSS)                                 9,163.94      38.74          47,573.90                    31.17




                                                                                       Tuesday, November 25, 2014
                                                                                                        05:45 PM
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                                                                                                                                              11/25/2014 4:50 PM
                                                                        124-136 S Randall Rd, Algonquin (124-136r)

                                                                                Receipt Register
                                                                                Period = Oct 2014-Nov 2014
Control   Batch      Period        Date                      Person                       Property      Account      Amount       Reference   Notes
R-12010 3068      10-2014     10/3/2014    Vogue Cleaners(voguecle)                    124-136r                        6,000.00
R-12117 3107      10-2014     10/9/2014    CPR - Cell Phone Repair(cellphon)           124-136r                        3,517.20
R-12344 3168      10-2014     10/23/2014   Crystal Lake Shoe Repair(crystall)          124-136r                         450.00
R-12545 3217      11-2014     11/4/2014    El Fuego Tacos & Burritos(elfuego)          124-136r                        3,717.00
R-12715 3272      11-2014     11/14/2014   CPR - Cell Phone Repair(cellphon)           124-136r                        3,518.00
R-12716 3272      11-2014     11/14/2014   Vogue Cleaners(voguecle)                    124-136r                        6,000.00
R-12756 3291      11-2014     11/17/2014   Crystal Lake Shoe Repair(crystall)          124-136r                         450.00

                                                                                                             Total    23,652.20




                                                                                       Page 1 of 1
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                                                                                                                                                                        11/25/2014 4:49 PM
                                                                                       124-136 S Randall Rd, Algonquin (124-136r)

                                                                                               Check Register
                                                                                              Period = Oct 2014-Nov 2014
Control    Batch      Period        Date                                      Person                                 Property       Account    Amount       Reference    Notes
K-8743    2844     10-2014     10/3/2014    Allied Waste Services #933 (allied-933)                              124-136r                          532.76     1076
K-8744    2844     10-2014     10/3/2014    Program One Professional Building Services, Inc. (programone)        124-136r                           84.00     1077
K-8745    2844     10-2014     10/3/2014    Village of Algonquin (villalgo)                                      124-136r                          452.98     1078
K-8932    2905     10-2014     10/13/2014   Society Insurance (society)                                          124-136r                          354.15     1079
K-9043    2962     10-2014     10/23/2014   Commonwealth Edison (comed)                                          124-136r                          186.85     1080
K-9044    2962     10-2014     10/23/2014   Elite Lawncare (elitelawn)                                           124-136r                          795.75     1081
K-9045    2962     10-2014     10/23/2014   Nicor Gas Co. (nicor)                                                124-136r                           86.37     1082
K-9046    2963     10-2014     10/23/2014   FL RC Management, LLC (flrcmana)                                     124-136r                          103.95     1083
K-9397    3051     11-2014     11/7/2014    Alarm Detection Systems, Inc (alardete)                              124-136r                          279.80     1084
K-9398    3051     11-2014     11/7/2014    Allied Waste Services #933 (allied-933)                              124-136r                          531.57     1085
K-9399    3051     11-2014     11/7/2014    Village of Algonquin (villalgo)                                      124-136r                          492.03     1086
K-9578    3123     11-2014     11/21/2014   Commonwealth Edison (comed)                                          124-136r                          489.97     1087
K-9579    3123     11-2014     11/21/2014   FL RC Management, LLC (flrcmana)                                     124-136r                           45.57     1088
K-9580    3123     11-2014     11/21/2014   Nicor Gas Co. (nicor)                                                124-136r                           27.49     1089
K-9581    3123     11-2014     11/21/2014   Program One Professional Building Services, Inc. (programone)        124-136r                           84.00     1090
K-9582    3123     11-2014     11/21/2014   Society Insurance (society)                                          124-136r                          349.15     1091
K-9583    3123     11-2014     11/21/2014   Stahl Cowen Crowley Addis LLC (stahlcowen)                           124-136r                        9,546.00     1092

                                                                                                                                       Total    14,442.39




                                                                                                     Page 1 of 1
                        Case: 1:13-cv-07271 Document #: 108 Filed: 11/26/14 Page 23 of 35 PageID #:1049
Aged Receivables Report
Detail by Resident
Property: 124-136 S Randall Rd, Algonquin (124-13
Trans through: 11/2014
Age As of: 11/30/2014                                                                                                                Page 1

                                                    Total Unpaid     0 - 30    31 - 60   61 - 90   Over 90
Unit         Resident             Charge Code           Charges       days       days      days      days      Prepayments          Balance


124-136r - 124-136 S Randall Rd, Algonquin
132         elfuego     El Fuego Tacos &               12,877.45    3,717.00      0.00      0.00    9,160.45          0.00         12,877.45
                           Burritos
136-A        crystall       Crystal Lake Shoe             250.00      50.00      50.00     50.00     100.00           0.00           250.00
                           Repair

Total 124-136r                                        13,127.45    3,767.00     50.00     50.00    9,260.45          0.00        13,127.45

Total                                                 13,127.45    3,767.00     50.00     50.00    9,260.45          0.00        13,127.45




                                                                                                                  Tuesday, November 25, 2014
                           Case:
Rent Roll - Occupancy Summary                                   1:13-cv-07271 Document #: 108 Filed: 11/26/14 Page 24 of 35 PageID #:1050
As of Date: 11/01/2014 Show Excluded Units: No Show All Amounts: Annual
                                                                                                                                                                                                         Page 1
Property: 124-136 S Randall Rd, Algonquin - 124-136r

                                                                              Lease      Lease         Term                                            Rent    Recovery       Misc        Total
Unit                Lease Name                     Lease Type                  From        To         (Months)          Area           Base Rent    Per Area   Per Area   Per Area     Per Area         Deposit
130                CPR - Cell Phone Rep            Retail - Net           10/01/2010   01/31/2016       64              1,840           27,600.00      15.00       7.94       0.00        22.94          767.00

132                El Fuego Tacos & Bur            Retail - Net           08/01/2013   07/31/2018       60              1,656           31,464.00      19.00       7.93       0.00        26.93        2,622.00

136-A              Crystal Lake Shoe Re            Retail - Net           02/04/2013   02/03/2016       37               300             6,000.00      20.00       0.00       0.00        20.00            0.00

136-B              Vogue Cleaners                  Retail - Net           11/13/2007   11/12/2017       121             2,640           72,000.00      27.27       0.00       0.00        27.27            0.00

124                VACANT                          N/A                                                   -              1,280                0.00       0.00       0.00       0.00         0.00            0.00

126                VACANT                          N/A                                                   -              1,390                0.00       0.00       0.00       0.00         0.00            0.00

128A               VACANT                          N/A                                                   -              1,840                0.00       0.00       0.00       0.00         0.00            0.00

128B               VACANT                          N/A                                                   -                    0              0.00       0.00       0.00       0.00         0.00            0.00

134                VACANT                          N/A                                                   -              2,904                0.00       0.00       0.00       0.00         0.00            0.00

136                VACANT                          N/A                                                   -                    0              0.00       0.00       0.00       0.00         0.00            0.00


Summary
                                                                                                                                                      Total      Total      Total        Total
                                                                                                                                                        Rent   Recovery       Misc     Charges          Total
                                             Total Units         Percentage                         Total Area   Percentage       Total Base Rent   Per Area   Per Area   Per Area     Per Area        Deposit


                                 Occupied                   4        40.00%                             6,436        46.47%           137,064.00       21.30       4.31       0.00        25.61       3,389.00

                                    Vacant                  6        60.00%                             7,414        53.53%                 0.00        0.00       0.00       0.00         0.00            0.00

                                    Totals                 10                                         13,850                         137,064.00        9.90       2.00       0.00        11.90        3,389.00




                                                                                                                                                                                     Tuesday, November 25, 2014
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                 EXHIBIT E
Case: 1:13-cv-07271 Document #: 108 Filed: 11/26/14 Page 26 of 35 PageID #:1052




 PNC Bank                                                                 INVOICE
 1 N. Franklin, Suite 2150                                                       R5005
 Chicago, IL 60606
 Re: Randall Road Joint Venture Receivership                       November 26, 2014



 FOR PROFESSIONAL SERVICES RENDERED FOR THE PERIOD 10/1/14 – 12/9/14


 Receiver’s Fees:

          Period           Monthly Fee             Proration         Fees Due
    10/1/14 – 10/31/14      $2,000.00          x    31 / 31    =     $2000.00
    11/1/14 – 11/30/14      $2,000.00          x    30 / 30    =     $2,000.00
     12/1/14 – 12/9/14      $2,000.00          x     9 / 31    =       $580.65
         TOTAL                                                       $4,580.65



 Monthly Receiver’s Fees                                             $4,580.65
 Termination Fee                                                      $500.00
 Total Receiver’s Fees                                               $5,080.65



 Additional Charges:

        None


 Total Fees & Costs                                                  $5,080.65

 Previous Unpaid Balance (5th Report)                                $4,000.00

 TOTAL AMOUNT DUE                                                    $9,080.65




                            Frontline Real Estate Partners, LLC
                              707 Skokie Boulevard Suite 580
                                   Northbrook, IL 60062
Case: 1:13-cv-07271 Document #: 108 Filed: 11/26/14 Page 27 of 35 PageID #:1053




                 EXHIBIT F
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Case: 1:13-cv-07271 Document #: 108 Filed: 11/26/14 Page 31 of 35 PageID #:1057
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                 EXHIBIT G
  Case: 1:13-cv-07271 Document #: 108 Filed: 11/26/14 Page 35 of 35 PageID #:1061



                     IN THE UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

PNC Bank, National Association, successor in              )
interest by merger to National City Bank, successor       )
in interest by merger to MidAmerica Bank, FSB             )
                                                          )   No 13 cv 07271
                                     Plaintiff.           )
                                                          )   Property Address:
                         vs.                              )   124-136 S. Randall Road
                                                          )   Algonquin, Illinois 60102
Randall Road Joint Venture, an Illinois general           )
Partnership; Chicago Title Land Trust Company,            )   Assigned Judge: Robert M. Dow, Jr.
successor trustee to Amcore Investment Group as           )   Magistrate Judge: Mary M. Rowland
Trustee Under Trust Agreement Dated December 15,         )
1993 and Known as Trust Number 3504; Jeffrey R.           )
Dunham; Robert R. Dunham; Power Pizza Company            )
d/b/a Jake’s Pizza, an Illinois domestic corporation;     )
Phoenix Leasing Incorporated, a foreign corporation;      )
                                                          )
                                     Defendants.          )

                                            ORDER

       THIS MATTER coming on to be heard before this Honorable Court on approval of the
Final Report of the Receiver, and the Court being fully advised in the premises;

        IT IS HEREBY ORDERED THAT:
    1. The Final Report of the Receiver is approved including all fees and expenses of the
       Receiver and the Receiver’s legal counsel, as detailed in the Report;

    2. The Receiver is hereby discharged of his duties and his bond released.

    3. Any fees remaining in the Receiver’s account after payment of final fees and expenses
       shall be turned over within 30 days.


                                             E N T E R:
                                             ________________________________________
                                             JUDGE

                                             Dated: __________________________________


Joshua E. Joseph / Receiver
707 Skokie Boulevard, Suite 580
Northbrook, IL 60062
(847) 770-6262
